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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA                        *
                                                 *
        v.                                       *
                                                 *          CRIMINAL NO. PX-23-323
                                                 *
 MICHAEL VERZALENO, JR, et al.,                  *
                                                 *
        Defendants.                              *
                                                 *

                MOTION FOR ISSUANCE OF RULE 17 SUBPOENA FOR
                        PRODUCTION OF DOCUMENTS

       The United States of America, by and through its undersigned counsel, hereby moves for

issuance of a subpoena to the Custodian of Records for the Kearny Steel Container Corporation

(“Kearny Steel”) to produce the Subledgers of the company’s General Ledger prior to trial pursuant

to Federal Rule of Criminal Procedure 17(c).

       1.      On August 19, 2024, the government moved for issuance of a Rule 17(c) subpoena

for production of Kearny Steel’s General Ledger prior to trial.   ECF 100; see Attachment 1.   The

government made the motion because it had tried to obtain a copy of the General Ledger by other

means, i.e., initially by service of a grand jury subpoena to the company’s Custodian of Records,

then by requests to the company’s accountant and its lawyer, all with no success.   ECF 100 at 1-

4.   The General Ledger is a relevant and admissible document needed by the government to

adequately prepare for trial.   In order to prove that the Defendants executed the false billing

scheme against Citrus and Allied through Kearny Steel as charged in the Indictment, the

government will adduce evidence at trial that they used various bookkeeping methods and records

at Kearny Steel to fraudulently conceal the existence of the scheme.

       2.      On August 20, 2024, the Court granted the government’s Rule 17(c) motion and

issued an Order requiring the Clerk of the Court to issue the subpoena to the Custodian of Records

for Kearny Steel to produce the following prior to trial:
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       The General Ledger for Kearny Steel Container Corporation described as a
       handwritten account ledger containing debits and credits and various journal entries
       covering fiscal years 2013 through 2020. EC

ECF 101; see Attachment 2.      Ultimately, the subpoena was properly served on Kearny Steel via

its counsel, Anthony Mahajan, Esq.

       3.      On August 28, 2024, having not received a copy of the General Ledger nor a

satisfactory response from Mr. Mahajan, the government moved for a Show Cause Order.               ECF

107.

       4.      The next day, on August 29, 2024, Mr. Mahajan agreed to hand deliver the General

Ledger to an FBI agent in New Jersey.      Believing that Kearny Steel had fulfilled its production

obligation under the subpoena, the government moved to withdraw its motion for the Show Cause

Order, and the Court granted it.   ECF 109 and 110.

       5.      A detailed review of the General Ledger since that time has determined that the

General Ledger provided to the government was not complete.          As stated in the government’s

first Rule 17 subpoena, the accountant for Kearny Steel described the General Ledger as a non-

digital account ledger containing handwritten journal entries of debits and credits.    See 100 at 2.

It served as the central repository for managing all of the company’s business affairs.      Id.    An

integral part of a General Ledger is its subledgers, or subsidiary ledgers, which contain the detailed

information upon which the line items in the General Ledger are based.          Despite the General

Ledger comprising the account balances of its subledgers, none of the subledgers were included

with the copy of the General Ledger provided to the government by Mr. Mahajan, thereby making

it impossible to identify the transactional details underlying those balances.     For example, the

essential subledgers for Kearny Steel’s accounts payable and disbursements are missing.

       6.      On October 17 and 18, 2024, the government emailed Mr. Mahajan requesting

production of the balance of the General Ledger, including the subledgers for accounts payable

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and disbursements.      On October 18, 2024, Mr. Mahajan responded stating, “Following up.

Thanks.”     In the two weeks since then, the government has not heard back from Mr. Mahajan.

       7.        Based on the foregoing chronology, the government moves for issuance of a Rule

17(c) subpoena to the Custodian of Records for Kearny Steel to produce the Subledgers of the

General Ledger for fiscal years 2013 through 2020, including the subledgers for accounts payable

and disbursements.      Federal Rule of Criminal Procedure 17(c), which states:

       A subpoena may order the witness to produce any books, papers, documents, data,
       or other objects the subpoena designates. The court may direct the witness to
       produce the designated items in court before trial or before they are to be offered in
       evidence. When the items arrive, the court may permit the parties and their
       attorneys to inspect all or part of them.

Rule 17(c)(1).      The Court “may quash or modify the subpoena if compliance would be

unreasonable or oppressive.” Rule 17(c)(2).     Before the Court can authorize the issuance of the

subpoena, the government must show the following:

       (1) that the documents are evidentiary and relevant;
       (2) that they are not otherwise procurable reasonably in advance of trial by exercise
       of due diligence;
       (3) that the party cannot properly prepare for trial without such production and
       inspection in advance of trial and that the failure to obtain such inspection may tend
       unreasonably to delay the trial; and
       (4) that the application is made in good faith and is not intended as a general ‘fishing
       expedition.’

United States v. Nixon, 418 U.S. 683, 699–700 (1974) (citations omitted); United States v.

Caro, 597 F.3d 608, 619 (4th Cir. 2010) (same).

       8.        Given the approaching trial date on December 2, 2024, the government respectfully

seeks an expedited subpoena duces tecum pursuant to Rule 17(c) to require the company’s

Custodian of Records to produce the Subledgers for Kearny Steel Container Corporation’s General

Ledger for fiscal years 2013 through 2020, including the subledgers for accounts payable and

disbursements.     Should the Court grant the government’s motion, the subpoena should be

addressed as follows:
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       Custodian of Records
       Kearny Steel Container Corporation
       c/o Anthony Mahajan, Esquire
       Health Law Alliance
       51 JFK Parkway
       Short Hills, NJ 07078

A proposed Order and the proposed subpoena are attached.

       WHEREFORE, the government respectfully moves the Court to authorized issuance of the

subpoenas pursuant to Rule 17(c).

                                              Respectfully submitted,

                                              Erek L. Barron
                                              United States Attorney

                                                     /s/
                                              Martin J. Clarke
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                               CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing Motion for Issuance of Rule 17 Subpoena for

Production of Documents was served via ECF on counsel for the Defendants.


                                                   ________/s/_______________
                                                   Martin J. Clarke
                                                   Assistant United States Attorney




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